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                           IN THE UNITED STATES DISTRICT COURT
                      IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

 VILLAGE MARKET, a Florida Sole                       )
 Proprietorship,                                      )
 KANIZ FATHEMA, an Individual,                        )
                                                      )      Case No.
        Plaintiffs,                                   )
                                                      )
 -vs-                                                 )
                                                      )
 UNITED STATES OF AMERICA,                            )
                                                      )
        Defendant                                     )
                                                      )

                                          COMPLAINT

        The Plaintiffs, VILLAGE MARKET, a Florida Sole Proprietorship, and KANIZ

 FATHEMA, an Individual, by and through their undersigned counsel and hereby file suit against

 the United States of America pursuant to 7 U.S.C. §2023, and seek a de novo Judicial Review of

 the Administrative Decision to deny the Plaintiffs re-authorization as a Supplemental Nutrition

 Assistance Program (SNAP) retailer. In support of this claim, the Plaintiffs allege:

 CASE BACKGROUND & PROCEDURAL HISTORY

        1. The Plaintiffs operate a retail food store called Village Market. The store is located at

            464 Dr. Martin Luther King Jr. Blvd, W., Belle Glade, FL 3340-3817 and functions as

            a corner food store for the local impoverished neighborhood.

        2. Village Market was qualified as a Supplemental Nutrition Assistance Program Retailer

            for at least the past five years. Once every five years, the store must apply for

            reauthorization from the Department.




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       3. The Plaintiffs timely and appropriately submitted a re-authorization application to the

           Defendant’s Department of Agriculture, Food and Nutrition Service on October 12th,

           2018.

       4. The Defendant, through its Department and sub-agencies, determined that the Plaintiffs

           did not qualify for reauthorization under 7 C.F.R. §278.1(b)(1)(a) or (b), and issued a

           determination letter to that effect on December 19th, 2018.

       5. The Plaintiffs filed an administrative appeal and sought review from the Defendant’s

           Administrative Review Division within the Department of Agriculture.

       6. In pertinent part, the Plaintiffs noted that their store’s inventory satisfied the inventory

           requirements, and submitted pictures to that effect.

       7. In an opinion dated May 22nd, 2019, Administrative Review Officer Mary Kate

           Karagiorgos upheld the Defendants’ prior decision, finding in pertinent part that the

           Plaintiffs’ inventory was insufficient. The Final Agency Decision is attached hereto as

           Exhibit “A”.

       8. In accordance with 7 U.S.C. §2023, and as noted by the Final Agency Decision, the

           Plaintiffs have the opportunity for a de novo Judicial Appeal of the Final Agency

           Decision, for which this matter is filed.

 PARTIES

       9. The Plaintiff, KANIZ FATHEMA, is a natural person and a resident of Palm Beach

           County, Florida. Plaintiff, Mr. Fathema, is the owner of Village Market and the SNAP

           applicant on behalf of the business.

       10. The Defendant, the United States of America, administers the Supplemental Nutrition

           Assistance Program (SNAP) through the Department of Agriculture (USDA) and its



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          subsidiary, the Food and Nutrition Service (FNS). The Defendant is referred to herein

          as the “Government.”

 JURISDICTION & VENUE

       11. This Court has subject matter jurisdiction over the parties pursuant to the specific

          Congressional grant of authority found in 7 U.S.C. §2023.

       12. The Court has personal jurisdiction over the parties also pursuant to 7 U.S.C. §2023

          and for the fact that the circumstances giving rise to this matter arose within the

          Southern District of Florida.

       13. Venue is appropriate in the Southern District of Florida for the above stated reasons.

 COUNT I: REQUEST FOR JUDICIAL REVIEW

       14. The Plaintiffs re-aver the allegations set forth above as though set forth fully herein.

       15. The Plaintiffs, pursuant to 7 U.S.C. §2023 are entitled to a de novo review of the

          Government’s decision to deny re-authorization of the store.

       16. The Plaintiffs qualify to participate in the SNAP program as an authorized retailer

          under the regulatory criterion found in 7 C.F.R. §278, just as they have in the past.

       17. Furthermore, changes in regulations since the store was initially authorized do not

          apply to the Plaintiffs’ operation, as the store’s inventory is in line with the

          Department’s requirements under the regulation.

       18. Additionally, it appears that the on-site inspector’s report was inaccurate and

          incomplete. This report formed the basis of the Government’s decision to deny the

          reauthorization, and thus the denial of reauthorization was made without all of the

          necessary facts.




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        19. It is the belief of the Plaintiffs that discovery in this matter will show that the

            Government had an incomplete understanding of the Plaintiffs business and operations,

            and that upon an evidentiary hearing and presentation, the Plaintiffs will be able to

            demonstrate, by a preponderance of the evidence, that the Plaintiffs’ store does qualify

            for participation, warranting a reversal in the agency’s denial.

        20. The Plaintiffs have incurred attorney’s fees and costs in bringing this matter before the

            Court, and respectfully request that the Government be required to repay said fees in

            the event the Court enters judgment in their favor.

        WHEREFORE, the Plaintiffs, VILLAGE MARKET, a Florida Sole Proprietorship, and

 KANIZ FATHEMA, an Individual, respectfully request this Honorable Court conduct a review of

 the Administrative Denial of Re-Authorization, and enter Judgment in favor the Plaintiffs,

 compelling the Government to re-authorize VILLAGE MARKET, and granting the Plaintiffs their

 attorney’s fees and costs.

 Dated: June 26th, 2019                        Respectfully Submitted,

                                               /s/ Andrew Z. Tapp
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